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1    DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
2    117 J Street, Suite 202
     Sacramento, California 95814
3    916-447-1193
4    Attorney for Defendant
     Zhora Darmoyan
5
6
                              IN THE UNITED STATES DISTRICT COURT
7
                                EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,       )
10                                   )              NO. 2:11-cr-467 JAM
                Plaintiff,           )
11                                   )
          v.                         )              STIPULATION AND ORDER
12                                   )
     ZHORA DARMOYAN,                 )
13                                   )
                Defendant.           )
14   ________________________________)
15
           Defendant, through respective counsel, and the United States of America, through
16
     Assistant U.S. Attorney R. Steven Lapham, agree that the time to file property bonds in
17
     support of defendant Darmoyan’s release should be extended from November 23, 2011 end
18
     of business to December 2, 2011 at the end of business.
19
           Presently all deeds of trust have been signed and notorized, title searches and
20
     appraisals are anticipated to be completed next week due to the Thanksgiving holiday.
21
           Respectfully submitted,
22
23
24
     DATED: November 22, 2011                _________/S/_________________
25                                           DWIGHT M. SAMUEL
                                             Attorney for Defendant
26                                           Zhora Darmoyan
27
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                                                   1
                                                   2
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1
     DATED: November 22, 2011
2                                      __________/S/___________________________
                                       R. Steven Lapham
3                                      Assistant United States Attorney
                                       (Signed per Telephonic authorization)
4
5
6
          IT IS SO ORDERED.
7
          DATED: 11/22/2011
8
                                            /s/ John A. Mendez
9                                          John A. Mendez
                                           United States District Court Judge
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